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         Exhibit 17
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  Statistical Report for WAMY Bank Records Documents by Branch Office




     Branch Office Name    Number of Bank Records
     (Requested by PEC)     Documents (Including,     Total number of
                          bank statements, transfers, Pages (Approx.)
                           checks, and bank deposit
                                     slips)
    Jeddah / Mecca        4,706                       101,926
    Southern Province     2,182                      99,235
    (Abha)
    Medina                1,596                      95,009
    Eastern Province      1,331                      44,782
    (Dammam)
    Pakistan              1,345                      42,727
    Kashmir               1,050                      60,605
    Sudan                 1,263                      42,542
    Azerbaijan            32                         178
    WAMY International    1,421                      25,883
    (U.S.A )
    WAMY Canada           63                         289
